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U.S. Environmental Protection Agency
1200 Pennsylvania Ave, N.W.
Washington, DC 20460

March 11, 2025
By Email

Elizabeth Bafford

CEO

Climate United Fund

7550 Wisconsin Ave, 3rd floor
Bethesda, MD 20814
BBafford@climateunited.org

Re: Notice of Termination
Dear Elizabeth Bafford,

Pursuant to the U.S. Environmental Protection Agency’s (“EPA” or “the Agency”) authority under 2 C.F.R.
§§ 200.339-40, the General Terms and Conditions of EPA assistance award agreements, the terms and
conditions of the Grant Agreement, and the Agency’s inherent authority to reconsider prior
determinations in light of new information, the Agency is terminating Grant Agreement No. 84094001,
awarded to Climate United Fund under the Greenhouse Gas Reduction Fund (“GGRF”), effective
immediately. This termination is based on substantial concerns regarding program integrity, the award
process, programmatic fraud, waste, and abuse, and misalignment with the Agency’s priorities, which
collectively undermine the fundamental goals and statutory objectives of the award.

Following a comprehensive review and consistent with multiple ongoing independent federal
investigations into programmatic fraud, waste, abuse and conflicts of interest, EPA has identified
material deficiencies, including, but not limited to: 1) the absence of adequate oversight and account
controls to prevent financial mismanagement; 2) the improper or speculative allocation of funds
inconsistent with EPA’s oversight and fiscal responsibilities; and 3) the circumvention and defeat of key
oversight mechanisms in the disbursement of federal funds. EPA has determined that these deficiencies
pose an unacceptable risk to the efficient and lawful execution of this grant that cannot be remedied by
imposing specific conditions, necessitating immediate termination to safeguard taxpayer funds and
ensure compliance with federal financial assistance regulations.

Additionally, the Agency has considered concerns raised by EPA Administrator Lee Zeldin regarding the
need for rigorous oversight and accountability in the administration of public funds. The Administrator
has emphasized the importance of eliminating fraud, waste, and abuse within EPA, particularly in high-
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value awards such as those under GGRF. The structural and operational weaknesses identified in the
execution of this grant are inconsistent with these priorities and materially impair the EPA’s ability to
ensure compliance with statutory and regulatory mandates governing the lawful expenditure of public
money.

The Agency has also determined that its existing process for awarding and overseeing execution of the
Grant Agreement lacks sufficient protections to guard against potential violations of the Constitution,
particularly the Appointments Clause and private nondelegation doctrine. U.S. Const. art. Il, § 2, cl. 2;
e.g., Alpine Sec. Corp. v. FINRA, 121 F.4th 1314, 1341 (D.C. Cir. 2024). Consistent with its independent
duty to avoid exceeding constitutional constraints, EPA has reconsidered the prior administration’s
conclusion that the oversight mechanisms for the Grant Agreement are sufficient to ensure that the
Recipient will not exercise significant authority independently of EPA’s oversight and ultimate approval.

This termination is executed in accordance with Sections II|.S and III.T.4 of the Grant Agreement and
with EPA’s General Terms and Conditions as incorporated in, and applicable in addition to, the terms of
the Grant Agreement, and is consistent with EPA’s obligations to safeguard public funds and inherent
authority to reconsider prior decisions. This letter constitutes the notice of termination required by 2
C.F.R. § 200.341. Consistent with 2 C.F.R. §§ 200.344-45 and the Closeout Agreement, the recipient is
required to cease all further program expenditures immediately, provide a comprehensive final financial
and programmatic report, and comply with all applicable closeout procedures.

EPA is committed to ensuring that federal funding is administered in a manner that upholds
transparency, accountability, and the highest standards of fiscal responsibility. This termination reflects
the Agency’s duty to protect public funds and maintain the integrity of its grant programs. In the coming
months, EPA will work to re-obligate lawfully appropriated funds within the GGRF program with
enhanced controls to ensure adequate governance, transparency, and accountability, consistent with
applicable regulatory and statutory requirements.

Sincerely,

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W.C. Mcintosh
Acting Deputy Administrator
U.S. Environmental Protection Agency

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e U.S. EPA, Office of the Greenhouse Gas Reduction Fund (OGGRF)
e U.S. EPA, Office of Mission Support (OMS)
e U.S. EPA, Office of General Counsel (OGC)
e U.S. Department of Justice
U.S. Department of the Treasury
U.S. House of Representatives
U.S. Senate
Citibank, N.A.

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